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                                                                                  Colson Law PLLC
                                                                                  80 Broad Street, 19th Floor
                                                                                  New York, NY 10004
                                                                                  (212) 257-6455
                                                                                  www.colsonlaw.com




                                                       August 5, 2022

 By ECF

 The Honorable Gary R. Brown
 United States District Judge
 United States Courthouse
 610 Federal Plaza
 Central Islip, NY 11722

        Re:    United States v. Enrique Portillo, 16 Cr. 403 (GRB)

 Dear Judge Brown:

         I write with the consent of the government to respectfully request a six-week
 adjournment of the status conference, currently scheduled for August 12, 2022. The government
 notified us yesterday that it has submitted its recommendation to the Capital Case Unit and
 expects to have a decision on or before the next appearance. Given the parties’ ongoing dialogue,
 we consent to the exclusion of speedy trial time until the adjournment date.

        Thank you for your consideration.


                                                 Respectfully submitted,

                                                 /s/

                                                 Deborah Colson
                                                 (917) 543-6490 (cell)

 cc: AUSA Justina Geraci
     AUSA John Durham
     AUSA Paul Scotti
